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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


ABANTE ROOTER AND PLUMBING,
INC., a California corporation,

              Petitioner,
v.                                                         Case No. 8:20-mc-110-T-30SPF
POUNDTEAM INCORPORATED,
a Florida corporation,

              Respondent.
                                              /


                                          ORDER
       This cause comes before the Court upon Petitioner’s Motion to Compel Compliance

with Subpoena and for Order to Show Cause as to Why Poundteam Incorporated Should Not

Be Held in Contempt (“Motion to Compel” or “Motion”) (Doc. 1). In its Motion to Compel,

Petitioner asks the Court to compel a non-party, Poundteam Incorporated (“Poundteam”), to

provide a complete response to a Subpoena to Produce Documents, Information, or Objects

or to Permit Inspection of Premises in a Civil Action (the “Subpoena”) (Doc. 1-1). As

indicated in the Motion’s Certificate of Service, on December 29, 2020, notice of the Motion

was served via electronic mail and first-class U.S. Mail on William E. Conley, President and

Registered Agent of Poundteam (see Doc. 5). Poundteam, however, has failed to respond to

the Motion to Compel, and the time for doing so has elapsed. See Local Rule 3.01(b), M.D.

Fla. (party opposing motion must file response in opposition within 14 days after service).

Therefore, the Motion to Compel is deemed unopposed. See Legends Collision Ctr., LLC v. State

Farm Mut. Auto. Ins. Co., No. 6:14-cv-6006-ORL-31TBS, 2016 WL 3406409, at *1 (M.D. Fla.
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June 21, 2016) (stating that a party’s failure to respond to a motion indicates the motion is

unopposed). For this reason and the reasons that follow, the Motion to Compel is granted in

part and denied in part.

       The Subpoena was issued in an action, Abante Rooter and Plumbing, Inc. v. Total

Merchant Services, LLC, No. 3:19-cv-05711-EMC, pending in the United States District Court

for the Northern District of California. Petitioner properly filed the instant Motion to Compel

in this Court, which is the court for the district where compliance is required by the underlying

Subpoena, as Poundteam’s principal place of business is located within this district. Petitioner

contends that despite the Subpoena being properly issued and served on Poundteam on

September 10, 2020 (Doc. 1 at 6, Doc. 1-2, Doc. 1-3 at ¶ 11), Poundteam failed to produce

any responsive documents, provide a written response or objections, or file a motion to quash

or modify the Subpoena pursuant to Fed. R. Civ. P. 45(d)(3). Finally, prior to filing the

Motion, Petitioner attempted to confer with Mr. Conley regarding Poundteam’s failure to

comply with the Subpoena (Doc. 1-3 at ¶¶ 13-16). The Motion to Compel requests that this

Court: (1) order Poundteam to provide a complete response to Petitioner’s Subpoena; and (2)

require Poundteam to show cause why it should not be held in contempt for failure to respond

to the Subpoena.

       Federal Rule of Civil Procedure 45 sets forth the process for a party to obtain certain

information from non-parties via subpoenas. Objections to a subpoena must be served before

the earlier of the time specified for compliance or 14 days after the subpoena is served. Fed.

R. Civ. P. 45(d)(2)(B). Rule 45 also sets forth the authority for a party, such as Petitioner, to

seek an order of compliance from a non-party. Rule 45(d)(2)(B)(i) states: “At any time, on

notice to the commanded person, the serving party may move the court for the district where


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compliance is required for an order compelling production or inspection.” Fed. R. Civ. P.

45(d)(2)(B)(i). Here, it appears that the Subpoena was properly issued and served on

Poundteam. Poundteam, however, did not serve any objections thereto. “[A]s a general rule,

when a party fails to timely object to interrogatories, production requests, or other discovery

efforts, the objections are deemed waived.” Bailey Indus., Inc. v. CLJP, Inc., 270 F.R.D. 662,

668 (N.D. Fla. 2010); see also Gulati v. Ormond Beach Hosp., LLC, No. 6:18-cv-920-Orl-37TBS,

2018 WL 7372080, at *2 (M.D. Fla. Dec. 17, 2018). As such, Poundteam has waived any

objections to the Subpoena. Accordingly, because Poundteam has failed to comply with or

object to the valid Subpoena issued by the Northern District of California, Petitioner’s Motion

to Compel is granted to the extent that Poundteam shall provide a complete response to the

Subpoena within 14 days of the date of this Order.

       Petitioner also moves for the entry of an order to show cause as to why Poundteam

should not be held in contempt for failure to respond to the Subpoena. Rule 45(g) provides

that the Court “may hold in contempt a person, who, having been served, fails without

adequate excuse to obey the subpoena or an order related to it.” Fed. R. Civ. P. 45(g).

However, “it would be rare for a court to use contempt sanctions without first ordering

compliance with a subpoena…. Disobedience of such an order may be treated as contempt.”

Fed. R. Civ. P. 45, Advisory Committee’s Notes (2013 Amendment). As such, because the

undersigned is ordering Poundteam to comply with the Subpoena, an order to show cause

and the sanction of contempt should not be imposed pending Poundteam’s compliance with

the Court’s Order and the Subpoena.




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      Accordingly, it is hereby ORDERED:

      Petitioner’s Motion to Compel Compliance with Subpoena and for Order to Show

Cause as to Why Poundteam Incorporated Should Not Be Held in Contempt (Doc. 1) is

GRANTED IN PART and DENIED IN PART.                    The motion to compel subpoena

compliance is GRANTED.        Poundteam is hereby ORDERED to provide a complete

response to the Subpoena within fourteen (14) days of the date of this Order. Petitioner’s

request for an order to show cause is DENIED.

      ORDERED in Tampa, Florida, January 21, 2021.




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